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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )                  8:08CR105
                                               )
                     Plaintiff,                )
                                               )
       vs.                                     )          ORDER NUNC PRO TUNC
                                               )
IVAN J. HICKS,                                 )
                                               )
                     Defendant.                )

       This matter is before the Court on the motion for reappointment under the Criminal
Justice Act filed by Michael Nelsen (Filing No. 405). Mr. Nelsen seeks reappointment so that
he may be compensated for past work performed with respect to his motion for a hearing to
show cause as to why the government has not filed a Rule 35 motion; the motion to show
cause was denied. The Defendant is indigent and is eligible for appointment of counsel under
the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal Justice Act Plan for
the District of Nebraska. The court finds that the motion should be granted and other counsel
appointed nunc pro tunc.

       IT IS ORDERED:

      1.      The motion for reappointment under the Criminal Justice Act filed by Michael
Nelsen (Filing No. 405) is granted for the purpose stated above.

        2.     The Federal Public Defender for the District of Nebraska is appointed to forthwith
provide the Court with a draft appointment order (CJA Form 20) bearing the name and other
identifying information of the CJA Panel attorney identified in accordance with the Criminal
Justice Act Plan for this district.

       3.     Counsel's appointment herein is made pursuant to 18 U.S.C. § 3006A(f). At the
time of the entry of judgment herein, Defendant shall file a current and complete financial
statement to aid the Court in determining whether any portion of counsel's fees and expenses
should be reimbursed by Defendant.

       3.       The Clerk shall provide a copy of this order to the Federal Public Defender for
the District of Nebraska.

       DATED this 23rd day of February, 2010.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   United States District Judge
